              Case 3:02-cv-00339-MO       Document 367               Filed 03/30/23   Page 1 of 3




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     Attorneys for Defendants David Baden and Dolores Matteucci



                                IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON


     DISABILITY RIGHTS OREGON,                            Case No. 3:02-cv-00339-MO (Lead Case)
     METROPOLITAN PUBLIC DEFENDER                         Case No. 3:21-cv-01637-MO (Member Case)
     SERVICES, INC., and A.J. MADISON,                    Case No. 6:22-CV-01460-MO
                                                                   6:22-CV-01460-MC (Member Case)

                     Plaintiffs,                          UNOPPOSED MOTION TO AMEND
                                                          SEPTEMBER 1, 2022 ORDER
             v.

     DAVID BADEN, in his official capacity as
     head of the Oregon Health Authority, and
     DOLORES MATTEUCCI, in her official
     capacity as Superintendent of the Oregon State
     Hospital

                     Defendants,

            and

     LEGACY EMANUEL HOSPITAL &
     HEALTH CENTER d/b/a UNITY CENTER
     FOR BEHAVIORAL HEALTH LEGACY
     HEALTH SYSTEM, PEACEHEALTH, and
     PROVIDENCE HEALTH & SERVICES,

                     Intervenors.

Page 1 -   UNOPPOSED MOTION TO AMEND SEPTEMBER 1, 2022 ORDER
           CAS/mm8/ 763195020                     Department of Justice
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              Case 3:02-cv-00339-MO        Document 367               Filed 03/30/23   Page 2 of 3



     JAROD BOWMAN, JOSHAWN DOUGLAS-                        Case No. 3:21-cv-01637-MO (Member Case)
     SIMPSON,                                              Case No. 3:21-cv-01637-MO (Member Case)

                     Plaintiffs,

             v.

     DOLORES MATTEUCCI, Superintendent of
     the Oregon State Hospital, in her individual
     and official capacity, DAVID BADEN,
     Director of the Oregon Health Authority, in his
     official capacity, and PATRICK ALLEN in
     his individual capacity,

                     Defendants,

            and

     LEGACY EMANUEL HOSPITAL &
     HEALTH CENTER d/b/a UNITY CENTER
     FOR BEHAVIORAL HEALTH LEGACY
     HEALTH SYSTEM, PEACEHEALTH, and
     PROVIDENCE HEALTH & SERVICES,

                     Intervenors.


     LEGACY EMANUEL HOSPITAL &                             Case No. 6:22-CV-01460-MC (Member Case)
     HEALTH CENTER d/b/a UNITY CENTER
     FOR BEHAVIORAL HEALTH; LEGACY
     HEALTH SYSTEM; PEACEHEALTH; and
     PROVIDENCE HEALTH & SERVICES
     OREGON,

                     Plaintiffs,
             v.

     DAVID BADEN, in his official capacity as
     Director of Oregon Health Authority,

                     Defendant.


                                      CERTIFICATE OF CONFERRAL

             Pursuant to Local Rule 7-1(a)(1)(A), counsel for Defendants conferred with Plaintiffs’

     and Intervenors’ counsel regarding this motion. They do not oppose this motion.




Page 2 -   UNOPPOSED MOTION TO AMEND SEPTEMBER 1, 2022 ORDER
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              Case 3:02-cv-00339-MO          Document 367              Filed 03/30/23   Page 3 of 3




                                                   MOTION

             The amici Marion, Washington, and Clackamas County District Attorneys have requested

     that the Oregon State Hospital provide notice to the committing court when any patient is 60

     days from the date when OSH must discharge the patient. ORS 161.371(5)(c) calls for 30 days’

     notice of such discharge. OSH is entirely willing to provide the notice requested by the District

     Attorneys, but the Health Insurance Portability and Accountability Act of 1996 (HIPAA) allows

     such disclosures only where they are “otherwise required by law,” and the law currently requires

     30 days’ notice.
             Defendants therefore respectfully ask this Court to amend Section (3)d of its September

     1, 2022, Order to replace “30 days” with “60 days,” such that it reads:

             “Before a patient reaches this maximum duration of commitment for restoration

             under this Order and remains unfit to proceed, OSH shall notify the committing

             court of the patient's impending discharge 60 days before the date on which the

             hospital is required to discharge the patient pursuant to this Order.”

     Defendants will submit a form of proposed order.

             DATED March 30, 2023.

                                                          Respectfully submitted,

                                                          ELLEN F. ROSENBLUM
                                                          Attorney General


                                                              s/ Carla A. Scott
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Page 3 -   UNOPPOSED MOTION TO AMEND SEPTEMBER 1, 2022 ORDER
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